Case 1:20-cv-00613-SB Document 529 Filed 08/31/23 Page 1 of 6 PageID #: 99934




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

 THOMSON REUTERS ENTERPRISE                       )
 CENTRE GMBH and WEST PUBLISHING                  )
 CORPORATION,                                     )
                                                  )
                        Plaintiffs and            )
                        Counterdefendants,        )
                                                  )
        v.                                        )   C.A. No. 20-613 (SB)
                                                  )
 ROSS INTELLIGENCE INC.,                          )
                                                  )
                        Defendant and             )
                        Counterclaimant.          )

                    THOMSON REUTERS’ MOTION TO EXCLUDE
                  DR. JAMES RATLIFF AND DR. GILLIAN HADFIELD

       Pursuant to Federal Rule of Civil Procedure 56, Thomson Reuters Enterprise Centre

GmbH and West Publishing Corporation (collectively, “Thomson Reuters”) respectfully move to

exclude certain testimony, argument, or evidence regarding the opinions of ROSS Intelligence

Inc.’s experts Dr. James Ratliff and Dr. Gillian Hadfield.

       The grounds for this motion are set forth in Thomson Reuters’ opening brief and

supporting exhibits and declarations, filed concurrently. A proposed order is attached.
Case 1:20-cv-00613-SB Document 529 Filed 08/31/23 Page 2 of 6 PageID #: 99935




                                 MORRIS, NICHOLS, ARSHT & TUNNELL LLP

                                 /s/ Michael J. Flynn

                                 Jack B. Blumenfeld (#1014)
                                 Michael J. Flynn (#5333)
OF COUNSEL:                      1201 North Market Street
                                 P.O. Box 1347
Daniel E. Laytin, P.C.           Wilmington, DE 19899
Christa C. Cottrell, P.C.        (302) 658-9200
Cameron Ginder                   jblumenfeld@morrisnichols.com
Max A. Samels                    mflynn@morrisnichols.com
KIRKLAND & ELLIS LLP
300 North LaSalle                Attorneys for Plaintiffs and Counterdefendants
Chicago, IL 60654                Thomson Reuters Enterprise Center GmbH and West
(312) 862-2000                   Publishing Corporation

August 31, 2023




                                      2
Case 1:20-cv-00613-SB Document 529 Filed 08/31/23 Page 3 of 6 PageID #: 99936




                         CERTIFICATION UNDER D. DEL. LR 7.1.1

       Pursuant to D. Del. LR 7.1.1, counsel for Plaintiffs made reasonable efforts to reach

agreement with Defendant ROSS Intelligence, Inc. on the foregoing Motion, and ROSS’s

counsel has stated that it will oppose the requested relief.


                                               /s/ Michael J. Flynn
                                               __________________________
                                               Michael J. Flynn (#5333)
Case 1:20-cv-00613-SB Document 529 Filed 08/31/23 Page 4 of 6 PageID #: 99937




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

 THOMSON REUTERS ENTERPRISE                       )
 CENTRE GMBH and WEST PUBLISHING                  )
 CORPORATION,                                     )
                                                  )
                       Plaintiffs and             )
                       Counterdefendants,         )
                                                  )
        v.                                        )   C.A. No. 20-613 (SB)
                                                  )
 ROSS INTELLIGENCE INC.,                          )
                                                  )
                       Defendant and              )
                       Counterclaimant.           )

                                    [PROPOSED] ORDER

       This Court, having considered Thomson Reuters Enterprise Centre GmbH and West

Publishing Corporation’s (collectively, “Thomson Reuters”) Motion to Exclude Dr. James Ratliff

and Dr. Gillian Hadfield and the related briefing and argument thereto,

       IT IS HEREBY ORDERED this ___ day of __________________ 2023 that Thomson

Reuters’ Motion for Summary Judgment is GRANTED.




 Date: __________________________                __________________________________
                                                 The Honorable Stephanos Bibas
Case 1:20-cv-00613-SB Document 529 Filed 08/31/23 Page 5 of 6 PageID #: 99938




                                CERTIFICATE OF SERVICE

       I hereby certify that on August 31, 2023, I caused the foregoing to be electronically filed

with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

registered participants.

       I further certify that I caused copies of the foregoing document to be served on

August 31, 2023, upon the following in the manner indicated:

 David E. Moore, Esquire                                               VIA ELECTRONIC MAIL
 Bindu Palapura, Esquire
 Andrew L. Brown, Esquire
 POTTER ANDERSON & CORROON LLP
 Hercules Plaza, 6th Floor
 1313 North Market Street
 Wilmington, DE 19801
 Attorneys for Defendant and Counterclaimant

 Mark A. Klapow, Esquire                                               VIA ELECTRONIC MAIL
 Lisa Kimmel, Esquire
 Crinesha B. Berry, Esquire
 Matthew J. McBurney, Esquire
 CROWELL & MORING LLP
 1001 Pennsylvania Avenue NW
 Washington, DC 20004
 Attorneys for Defendant and Counterclaimant

 Gabriel M. Ramsey, Esquire                                            VIA ELECTRONIC MAIL
 Jacob Canter, Esquire
 Warrington Parker, Esquire
 Margaux Poueymirou, Esquire
 Anna Z. Saber, Esquire
 Beatrice B. Nguyen, Esquire
 CROWELL & MORING LLP
 3 Embarcadero Center, 26th Floor
 San Francisco, CA 94111
 Attorneys for Defendant and Counterclaimant
Case 1:20-cv-00613-SB Document 529 Filed 08/31/23 Page 6 of 6 PageID #: 99939



Shira Liu, Esquire                                             VIA ELECTRONIC MAIL
CROWELL & MORING LLP
3 Park Plaza, 20th Floor
Irvine, CA 92614
Attorneys for Defendant and Counterclaimant


                                        /s/ Michael J. Flynn
                                        __________________________
                                        Michael J. Flynn (#5333)




                                              2
